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 1   John R. Manning
     Attorney at Law
 2   Ca. St. Bar No. 220874
     1111 H Street, Suite 204
 3   Sacramento, CA 95814
     Telephone: (916) 444-3994
 4
     Attorney for Defendant
 5   David Robbie Forkner

 6

 7                   IN THE UNITED STATES DISTRICT COURT

 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )         CR NO. S-08-363 GEB
                                   )
11             Plaintiff,          )         STIPULATION AND
                                   )         [PROPOSED] ORDER CONTINUING
12        v.                       )         STATUS CONFERENCE
                                   )
13   David Forkner and             )
     Loretta Canham,               )         Date:    January 20, 2012
14                                 )         Time:    9:00 a.m.
                                   )         Judge:   Hon. Garland E.
15             Defendants.         )                  Burrell, Jr.
     ______________________________)
16
          IT IS HEREBY stipulated between the United States of America
17
     through its undersigned counsel, Michael M. Beckwith, Assistant
18
     United States Attorney, together with counsel for defendant David
19
     Forkner, John R. Manning Esq., and counsel for defendant Loretta
20
     Leigh Canham, Dennis S. Waks Esq., that the status conference
21
     currently set for November 4, 2011, be continued to January 20,
22
     2012, and stipulate that the time beginning November 3, 2011,
23
     and extending through January 20, 2012, should be excluded from
24
     the calculation of time under the Speedy Trial Act.         The parties
25
     request to exclude time for defense preparation. This matter
26
     involves a wire intercept on several telephones and related pen
27
     registers, as well as over 3000 pages of discovery.
28
                                         1
           Case 2:08-cr-00363-WBS Document 119 Filed 11/04/11 Page 2 of 4


 1        The parties stipulate and agree that the interests of

 2 justice served by granting this continuance outweigh the best

 3 interests of the public and the defendants in a speedy trial. 18

 4 USC § 3161(h)(7)(B)(iv) and (Local T-4).

 5 IT IS SO STIPULATED.

 6

 7 Date: November 2, 2011                       /s/ John R. Manning
                                              JOHN R. MANNING
 8                                            Attorney for Defendant
                                              David Robbie Forkner
 9

10 Dated: November 2, 2011                    /s/ John R. Manning for
                                            DENNIS S. WAKS
11                                          Attorney for Defendant
                                            Loretta Leigh Canham
12

13
     Dated: November 3, 2011                  Benjamin B. Wagner
14                                            United States Attorney

15
                                        by:     /s/ John R. Manning for
16                                            MICHAEL M. BECKWITH
                                              Assistant U.S. Attorney
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           Case 2:08-cr-00363-WBS Document 119 Filed 11/04/11 Page 3 of 4


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 2
                     IN THE UNITED STATES DISTRICT COURT
 3
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
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 5
     UNITED STATES OF AMERICA,       ) Case No. CR.S 08-363 GEB
 6                                   )
                     Plaintiff,      )
 7                                   )
          v.                         ) [PROPOSED] ORDER TO
 8                                   ) CONTINUE STATUS CONFERENCE
     David Forkner and               )
 9   Loretta Canham,                 )
                                     )
10                                   )
                     Defendants.     )
11   _______________________________ )

12

13        Based on the stipulation of the parties and good cause

14 appearing therefrom, the Court hereby finds that the failure to

15 grant a continuance in this case would deny defense counsel

16 reasonable time necessary for effective preparation, taking into

17 account the exercise of due diligence.         The Court specifically

18 finds that the ends of justice served by the granting of such

19 continuance outweigh the interests of the public and the defendant

20 in a speedy trial.     Based on these findings and pursuant to the

21 stipulation of the parties, the Court hereby adopts the

22 stipulation of the parties in its entirety as its order.            Time is

23 excluded from computation of time within which the trial of this

24 matter must be commenced beginning from the date of the

25 stipulation, November 3, 2011, through and including January 20,

26 2012, pursuant to 18 U.S.C. §       3161(h)(7)(A) and (B)(iv)

27 [reasonable time for defense counsel to prepare] and Local Code

28 / / /
                                         3
              Case 2:08-cr-00363-WBS Document 119 Filed 11/04/11 Page 4 of 4


 1 T4.    It is further ordered that the November 4, 2011 status

 2 conference shall be continued until January 20, 2012, at 9:00a.m.

 3
     IT IS SO ORDERED.
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 5
     Dated:    November 3, 2011
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                                       GARLAND E. BURRELL, JR.
10                                     United States District Judge
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